     Case 2:13-cr-00008-WFN    ECF No. 2481    filed 08/08/14   PageID.13061 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7
                          UNITED STATES DISTRICT COURT
 8
                        EASTERN DISTRICT OF WASHINGTON
 9
10 UNITED STATES OF AMERICA,                      No. 2:13-CR-008-WFN-34
11
                Plaintiff,                        ORDER DENYING DEFENDANT’S
12 vs.                                            MOTION FOR PERMISSION TO
13                                                TRAVEL
   MERCEDES LASHAWN REEVES,
14
15                     Defendant.
16         Before the Court is Defendant’s Motion for Permission to Travel. ECF No.
17   2441. Defendant’s request to travel to the Western District of Washington would
18   require modification of present conditions of release, notably condition #2(c) in
19   ECF No. 1208, requiring the Defendant to remain in the Eastern District of
20   Washington, and also of condition #2 in ECF No. 1219, requiring Defendant to
21   participate in Electronic Home Monitoring.
22         The Court heard the argument of counsel on August 6, 2014, read
23   memoranda filed by each party, and reviewed the court file.
24         Defendant asserted that she had been compliant with all release conditions to
25   date, and wished to travel by car over a 4-day period in August, to attend a family
26   gathering in Everett, Washington, occasioned by her brother’s birthday and her
27   grandmother’s recent surgery.
28         The United States objected, arguing that release was over objection, that

     ORDER - 1
     Case 2:13-cr-00008-WFN     ECF No. 2481   filed 08/08/14   PageID.13062 Page 2 of 2




 1   Defendant is charged with serious offenses involving firearms, would propose to
 2   travel in the company of individuals with significant criminal histories, and
 3   pending trial has allegedly made false or contradictory statements.
 4         Pretrial Services did not object.
 5         The present pretrial release status came about after several hearings and after
 6   being heard by two other judges, including a District Judge. As this Court is not
 7   fully appraised as to all of the arguments or factual nuances which resulted in
 8   Defendant’s present position, this Court gives deference to the present conditions
 9   of release and confines itself to determining whether there are substantial changes
10   in Defendant’s circumstances. This Court finds no substantial changes. The Court
11   further notes that the presumably extensively argued condition that Defendant
12   remain in the Eastern District of Washington, ECF 1208, does not include the
13   common qualifier of “may travel with prior permission, for medical or other
14   appropriate reasons.” Finally, the Court also notes that the reasons for wishing to
15   travel are not notably emergent.
16         For these reasons the Defendant’s Motion, ECF No. 2241 is DENIED.
17         IT IS SO ORDERED.
18         DATED August 8, 2014.
19
20                               _____________________________________
                                           JOHN T. RODGERS
21                                UNITED STATES MAGISTRATE JUDGE
22
23
24
25
26
27
28

     ORDER - 2
